                                UNITED STATES BANKRUPTCY COURT
                                 EASTERN DISTRICT OF MICHIGAN
                                       NORTHERN DIVISION

In re:                                                           Case No. 07-20519-
         Arnold C Heath Jr
         Angela Sue Heath
                    Debtor(s)



              CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

         Thomas McDonald, chapter 13 trustee, submits the following Final Report and Account
of the administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as
follows:

         1) The case was filed on 02/28/2007, and was converted to chapter 13 on 09/25/2007.

         2) The plan was confirmed on 11/15/2007.

         3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
NA .

       4) The trustee filed action to remedy default by the debtor in performance under the plan
on NA .

         5) The case was completed on 10/27/2010.

         6) Number of months from filing to last payment: 37.

         7) Number of months case was pending: 39.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: $8,862.00.

         10) Amount of unsecured claims discharged without payment: $40,159.14.

         11) All checks distributed by the trustee relating to this case have cleared the bank.




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Receipts:

           Total paid by or on behalf of the debtor                       $14,791.00
           Less amount refunded to debtor                                      $0.00

NET RECEIPTS:                                                                                                    $14,791.00



Expenses of Administration:

     Attorney’s Fees Paid Through the Plan                                           $2,000.00
     Court Costs                                                                         $0.00
     Trustee Expenses & Compensation                                                   $606.43
     Other                                                                               $0.00
TOTAL EXPENSES OF ADMINISTRATION:                                                                                 $2,606.43

Attorney fees paid and disclosed by debtor:                                 $0.00



Scheduled Creditors:
Creditor                                                Claim           Claim           Claim        Principal         Int.
Name                                    Class         Scheduled        Asserted        Allowed         Paid            Paid
AFNI INC                            Unsecured               106.30             NA              NA            0.00             0.00
ALLTEL                              Unsecured               208.00             NA              NA            0.00             0.00
AT & T                              Unsecured               117.95             NA              NA            0.00             0.00
Campbell Properties & Trust         Unsecured            20,000.00             NA              NA            0.00             0.00
CAPITAL ONE                         Unsecured               602.47             NA              NA            0.00             0.00
CHARTER COMMUNICATIONS              Unsecured               106.30             NA              NA            0.00             0.00
CONSUMERS ENERGY                    Unsecured               197.08             NA              NA            0.00             0.00
CYNTHIA A SKIBA DDS                 Unsecured               152.15             NA              NA            0.00             0.00
ECAST SETTLEMENT CORPORATION        Unsecured               555.80          582.65          582.65         148.08             0.00
FAMILY PRACTICE CENTER              Unsecured                60.59             NA              NA            0.00             0.00
LAKE HURON CREDIT UNION             Unsecured             9,619.00        8,565.59        8,565.59           0.00             0.00
LAKE HURON CREDIT UNION             Unsecured             1,399.82             NA              NA            0.00             0.00
MID MICH REGIONAL MEDICAL CNT       Unsecured                50.00             NA              NA            0.00             0.00
MID MICH REGIONAL MEDICAL CNT       Unsecured                17.94             NA              NA            0.00             0.00
MID MICH REGIONAL MEDICAL CNT       Unsecured                50.00             NA              NA            0.00             0.00
MID MICH REGIONAL MEDICAL CNT       Unsecured               138.78             NA              NA            0.00             0.00
MID MICHIGAN URGENT CARE            Unsecured                60.59             NA              NA            0.00             0.00
PORTFOLIO RECOVERY ASSOCIATES       Unsecured               645.75          857.17          857.17         217.86             0.00
ROUNDUP FUNDING LLC                 Unsecured                  NA        12,227.17       12,227.17       3,107.53             0.00
SBC                                 Unsecured               433.47             NA              NA            0.00             0.00
SPRINT NEXTEL                       Unsecured             1,226.63        1,266.80        1,266.80         321.96             0.00
SPRINT NEXTEL DISTRIBUTIONS         Unsecured                86.04             NA              NA            0.00             0.00
SPRINT NEXTEL DISTRIBUTIONS         Unsecured                55.44             NA              NA            0.00             0.00
VERIZON WIRELESS MIDWEST            Unsecured                30.56             NA              NA            0.00             0.00
WANIGAS FEDERAL CREDIT UNION        Unsecured                  NA        16,008.09       16,008.09       4,068.49             0.00
WANIGAS FEDERAL CREDIT UNION        Unsecured            35,700.19             NA              NA            0.00             0.00
WANIGAS FEDERAL CREDIT UNION        Unsecured            24,424.00       17,000.24       17,000.24       4,320.65             0.00
ZALES                               Unsecured             1,318.95             NA              NA            0.00             0.00
ZIEHM LP GAS                        Unsecured               608.98             NA              NA            0.00             0.00




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 Summary of Disbursements to Creditors:
                                                                      Claim             Principal              Interest
                                                                    Allowed                 Paid                  Paid
 Secured Payments:
        Mortgage Ongoing                                              $0.00                $0.00                 $0.00
        Mortgage Arrearage                                            $0.00                $0.00                 $0.00
        Debt Secured by Vehicle                                       $0.00                $0.00                 $0.00
        All Other Secured                                         $8,565.59                $0.00                 $0.00
 TOTAL SECURED:                                                   $8,565.59                $0.00                 $0.00

 Priority Unsecured Payments:
         Domestic Support Arrearage                                    $0.00               $0.00                 $0.00
         Domestic Support Ongoing                                      $0.00               $0.00                 $0.00
         All Other Priority                                            $0.00               $0.00                 $0.00
 TOTAL PRIORITY:                                                       $0.00               $0.00                 $0.00

 GENERAL UNSECURED PAYMENTS:                                     $47,942.12          $12,184.57                  $0.00



 Disbursements:

          Expenses of Administration                                    $2,606.43
          Disbursements to Creditors                                   $12,184.57

 TOTAL DISBURSEMENTS :                                                                                    $14,791.00



         12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the trustee is responsible have been completed. The trustee
requests a final decree be entered that discharges the trustee and grants such other relief as may
be just and proper.

Dated: 01/06/2011                                  By: /s/ Thomas McDonald
                                                                                 Trustee


STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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